          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 1 of 10




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 CAROLYN SMITH, et al.,                              §
     Plaintiffs,                                     §
                                                     §
 v.                                                  §                 Case No. 1:19-cv-01054-RP
                                                     §
 THE CITY OF BASTROP, TEXAS, et al.,                 §
      Defendants.                                    §

                                    NOTICE TO THE COURT

        Defendants jointly file this notice with the document listed below pursuant to Local Rule

16(f) in advance of the May 17, 2021 nonjury trial in the above-styled matter:

        Exhibit A        Defendants’ Objections to Plaintiffs’ Trial Exhibits.


Respectfully submitted,


 /s/ Jeff Hobbs                                          /s/ Bradford E. Bullock_________
 MICHAEL J. WHELLAN                                       GEORGE E. HYDE
 State Bar No. 21265550                                   State Bar No 45006157
 mwhellan@abaustin.com                                    ghyde@txlocalgovlaw.com
 JEFFREY J. HOBBS                                         BRADFORD E. BULLOCK
 State Bar No. 24012837                                   State Bar No. 00793423
 jhobbs@abaustin.com                                      bbullock@txlocalgovlaw.com
 ARMBRUST & BROWN, PLLC                                   RUSSELL RODRIGUEZ HYDE
 100 Congress Avenue, Suite 1300                          BULLOCK, LLP
 Austin, Texas 78701                                      1633 Williams Drive, Building 2, Suite 200
 (512) 435-2300 – telephone                               Georgetown, Texas 78628
 (512) 435-2360 – facsimile                               (512) 930-1317 – telephone
 ATTORNEYS FOR DEFENDANT                                  (866) 929-1641 – facsimile
 TF HUNTERS CROSSING, L.P.                                ATTORNEYS FOR THE CITY OF
                                                          BASTROP, TEXAS, CONNIE
                                                          SCHROEDER, WILLIE LEWIS
                                                          “BILL” PETERSON, DRUSILLA
                                                          ROGERS, LYLE NELSON, BILL
                                                          ENNIS, DOCK JACKSON, RICK
                                                          WOMBLE, MICHELLE DODSON,
                                                          AND TABITHA PUCEK


Notice to the Court – Page 1 of 2
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 2 of 10




                                    CERTIFICATE OF SERVICE

     I hereby certify that on April 28, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record, and electronic mail.

                                                  Rick Milvenan
                                                  Ian Davis
                                                  McGinnis Lochridge LLP
                                                  600 Congress Avenue, Suite 2100
                                                  Austin, Texas 78701
                                                  rmilvenan@mcginnislaw.com
                                                  edavis@mcginnislaw.com
                                                  (512) 505-6331 - fax


                                                    /s/ Jeff Hobbs
                                             Jeff Hobbs




Notice to the Court – Page 2 of 2
           Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 3 of 10




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 CAROLYN SMITH, et al.,                                  §
     Plaintiffs,                                         §
                                                         §
 v.                                                      §                   Case No. 1:19-cv-01054-RP
                                                         §
 THE CITY OF BASTROP, TEXAS, et al.,                     §
      Defendants.                                        §

            DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL EXHIBITS

      1.    Defendants object to Plaintiffs’ proposed Exhibits 27, 29, 30, and 31 on the grounds

            that these exhibits constitute the written report and supplements thereto prepared by a

            formerly consulting-only expert (Glass Memo #27) and Plaintiffs’ designated expert

            (#29, 30, 31). The written reports are inadmissible hearsay and should not be admitted

            into evidence in lieu of live testimony by the witness/expert. Fed. R. Evid. 801; Jessica

            Lorraine Solis, Plaintiff, v. City of Baytown, Texas; Samuel A. Serrett; & Teddy F.

            Sims, Defendants., 4:19-CV-4865, 2021 WL 1566445, at *3 (S.D. Tex. Apr. 21, 2021).

      2.    Defendants object Plaintiffs’ proposed Exhibits 27, 28, 32, 33, 35, 36, 37, 38, 39, 44,

            45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 60, 62, 63, 64, 65, 74, 75 on the following grounds.

            Exhibit 27 is a “Glass Memo,” a document prepared at the behest of the City’s legal

            counsel, related to calculations related to the amount of capital costs due to the

            developer, which was prepared prior to the adoption of Ordinance No. 2019-40 and

            before the City and TF Hunters Crossing, LLC entered into a Revised and Restated

            Reimbursement Agreement, adopted pursuant to Resolution R-2019-86. The bulk of

            the rest of proposed Exhibits constitute communications between Plaintiffs’ legal

            counsel and the City’s legal counsel, Plaintiffs’ legal counsel and City staff, Plaintiffs’


Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 1 of 8
                                                                                 EXHIBIT A
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 4 of 10




             legal counsel and Defendant TF Hunters Crossing, LLC’s legal counsel, or TF Hunters

             Crossing, LLC’s legal counsel and the City’s legal counsel. The rest constitute

             communications/statements by City staff (#35, 36), former City Council members

             (#39), or non-party members of the public (#37).

    3.       Plaintiffs desire to admit these extrinsic documents for the purpose of aiding the Court

             in discerning the proper statutory construction of the challenged ordinance(s) and

             resolution(s). Fundamentally, Plaintiffs seek to use these documents as evidence of

             legislative intent and to establish a factual basis from which the Court can discern any

             questions of fact related to Ordinance No. 2019-40, Resolution R-2019-86, along with

             ordinances that were not challenged within three years of their enactment. 1

    4.       Plaintiffs characterize the statements contained in the aforementioned proposed

             exhibits as admissible statements of a party-opponent or statements against interest (at

             least as to statements made by City employees/legal counsel and TF Hunters Crossing’s

             legal counsel – it is less clear how statements by third-parties and Plaintiffs’ counsel’s

             own self-serving advocacy statements could be admissible under these theories). Fed.

             R. Evid. 801, 804; Slaughter v. Atkins, 396 Fed. Appx. 984, 988 (5th Cir. 2010); Gil

             Ramirez Group, L.L.C. v. Marshall, 765 Fed. Appx. 970, 978 (5th Cir. 2019) (Rule

             801), cert. denied sub nom. Fort Bend Mech., Ltd. v. Gil Ramirez Group, L.L.C., 140

             S. Ct. 248, 205 L. Ed. 2d 133 (2019) (Rule 804).




1
  Resolution R-2001-19, Resolution R-2003-34, Ordinance No. 2003-35, Ordinance No. 2004-42, 2004
Development and Reimbursement Agreement, Ordinance No. 2017-26. Governmental acts that are not void ab
initio, which are not challenged within three years of their enactment, are presumed valid under Texas law. Tex.
Loc. Gov't Code Ann. § 51.003; City of Alton v. City of Mission, 164 S.W.3d 861, 868 (Tex. App.—Corpus Christi
2005, pet. denied) (validation statute cures any substantive defects that may exist in ordinance).

Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 2 of 8
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 5 of 10




    5.      Regardless of how Plaintiffs would characterize the statements made by Defendants’

            representatives contained in these documents and communications, these statements

            are inadmissible to discern legislative intent or to aid the Court in statutory

            construction. The following cases discussing the role of extrinsic material used for the

            purpose of statutory interpretation explain why:

               “[T]he limits of the drafters' imagination supply no reason to ignore the law's
                demands. When the express terms of a statute give us one answer and extratextual
                considerations suggest another, it's no contest. Only the written word is the law,
                and all persons are entitled to its benefit.” Bostock v. Clayton County, Georgia, 140
                S. Ct. 1731, 1737, 207 L. Ed. 2d 218 (2020)
               “Only the words on the page constitute the law adopted by Congress and approved
                by the President. If judges could add to, remodel, update, or detract from old
                statutory terms inspired only by extratextual sources and our own imaginations, we
                would risk amending statutes outside the legislative process reserved for the
                people's representatives. And we would deny the people the right to continue
                relying on the original meaning of the law they have counted on to settle their rights
                and obligations.” Bostock, 140 S. Ct. 1731, 1738, 207 L. Ed. 2d 218.
               The “established rule of statutory interpretation cannot be overcome by judicial
                speculation as to the subjective intent of various legislators.” Bilski v. Kappos, 561
                U.S. 593, 607–08, 130 S. Ct. 3218, 3228, 177 L. Ed. 2d 792 (2010).
               “As we have repeatedly held, the authoritative statement is the statutory text, not
                the legislative history or any other extrinsic material. Extrinsic materials have a role
                in statutory interpretation only to the extent they shed a reliable light on the enacting
                Legislature's understanding of otherwise ambiguous terms. Not all extrinsic
                materials are reliable sources of insight into legislative understandings, however,
                and legislative history in particular is vulnerable to two serious criticisms. First,
                legislative history is itself often murky, ambiguous, and contradictory. Judicial
                investigation of legislative history has a tendency to become, to borrow Judge
                Leventhal's memorable phrase, an exercise in “‘looking over a crowd and picking
                out your friends.’” See Wald, Some Observations on the Use of Legislative History
                in the 1981 Supreme Court Term, 68 Iowa L.Rev. 195, 214 (1983). Second, judicial
                reliance on legislative materials like committee reports, which are not themselves
                subject to the requirements of Article I, may give unrepresentative committee
                members—or, worse yet, unelected staffers and lobbyists—both the power and the
                incentive to attempt strategic manipulations of legislative history to secure results
                they were unable to achieve through the statutory text.” Exxon Mobil Corp. v.
                Allapattah Services, Inc., 545 U.S. 546, 568–69, 125 S. Ct. 2611, 2626, 162 L. Ed.
                2d 502 (2005).
               “‘Any imagined gains from rummaging around in legislative minutiae, particularly
                absent any textual ambiguity, are more than dwarfed by multiple realities.’ One
                such reality is that legislative history is easily manipulable. If people think courts

Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 3 of 8
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 6 of 10




                will consider legislative history when applying statutes, opportunistic legislators
                and interest groups will put all kinds of things into the legislative record. Bill
                summaries like the one relied upon by the court of appeals are typically written by
                legislative staff. Even if the bill author himself wrote the summary, it takes only
                one legislator to state a bill's intent as he sees it (or, perhaps, as he wishes courts to
                see it). Making law, on the other hand, requires majorities of the elected
                representatives in both houses and the governor. This practical reality—that
                legislative history is easily manipulated by individual legislators and interest
                groups—points to a much deeper reason courts should not consult legislative
                history when interpreting statutes. ‘The greatest defect of legislative history is its
                illegitimacy. We are governed by laws, not by the intentions of legislators.’
                Legislative history reflects the unilateral view of one legislator, not the collective
                view of the body empowered by the constitution to make laws. ‘The Legislature
                does not speak through individuals ... it speaks through its enactments.’ The text of
                those enactments is the law, and our role extends no further than applying it as
                written.” Waak v. Rodriguez, 603 S.W.3d 103, 117 (Tex. 2020) (internal citations
                omitted).
               “As we recently held, if text is not hazy, we must resist morphing statutory
                construction into statutory excavation and instead ‘take the Legislature at its word
                and not rummage around in legislative minutiae.’” Entergy Gulf States, Inc. v.
                Summers, 282 S.W.3d 433, 475 (Tex. 2009) (internal citation omitted).
               “Courts are charged with exercising judgment, not will, and judicial judgment—
                awareness of the line between adjudication and legislation and refusing to cross
                it—means giving wide berth to legislative judgment. On policy matters, we must
                aim for utter disinterestedness, meaning we must interpret the [law] as it is written,
                not as we might have written it.” Entergy Gulf States, Inc., 282 S.W.3d at 481.
               “[E]ven proponents of legislative history, even those proponents willing to consider
                legislators' post-enactment comments, disregard statements from legislators who
                did not hold office when the disputed statute was enacted.” Entergy Gulf States,
                Inc., 282 S.W.3d at 492.
               “Isolated statements of individual legislators represent neither the intent of the
                legislature as a whole nor definitive interpretations of the language enacted by
                Congress.” In re Davis, 170 F.3d 475, 480 (5th Cir. 1999).
               “‘When we interpret statutes ... we seek to effectuate the ‘collective’ intent or
                purpose of the legislators who enacted the legislation.’” Mahaffey v. State, 316
                S.W.3d 633, 637 (Tex. Crim. App. 2010) (internal citation omitted).
               “The intent of an individual legislator, even a statute's principal author, is at most
                persuasive authority, resembling the comments of any learned scholar of the
                subject. The individual legislator's intent is not legislative history controlling the
                construction to be given a statute.” Tex. Dep't of Pub. Safety v. Kreipe, 29 S.W.3d
                334, 338 (Tex. App.—Houston [14th Dist.] 2000, pet. denied) (internal citation
                omitted).
               “Especially in recent times, the Texas Supreme Court has been resolute that courts
                must construe statutes by ‘first looking to the statutory language for the
                Legislature's intent, and only if we cannot discern legislative intent in the language
                of the statute itself do we resort to canons of construction or other aids.’

Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 4 of 8
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 7 of 10




                Consequently, we do not, as appellants propose, begin with the legislative record
                (much less with the anecdotal remarks of individual legislators that may appear
                within it), divine some perceived ‘legislative intent’ or ‘policy goal,’ and then work
                backwards to construe the statutory text accordingly.” Foster v. Tex. Dep't of
                Criminal Justice, 344 S.W.3d 543, 548 (Tex. App.—Austin 2011, pet. denied)
                (internal citations omitted).

    6.      Plaintiffs would have the Court admit into evidence and consider statements at least

            one and two steps removed from “anecdotal remarks” from actual legislators for the

            purpose of elucidating legislative intent. The statements in question one step removed

            were either made by the City’s legal counsel or a City employee, and not an actual

            legislator who voted on the challenged Ordinance(s) and Resolution(s). The statements

            two steps removed were made by TF Hunters Crossing, LLC’s legal counsel – an

            advocate for a private party that has no role in actually adopting the legislation being

            challenged.

    7.      Plaintiffs’ proposition for using governmental entity’s legal counsel and staff and

            private party’s legal counsel’s statements for discerning legislative intent on the

            grounds that such statements constitute statements by a party-opponent or statements

            against interest is unprecedented and violates every canon of statutory interpretation.

            Tex. Health Presbyterian Hosp. of Denton v. D.A., 569 S.W.3d 126, 135 (Tex. 2018)

            (courts do not rely on extrinsic aids to construe unambiguous statutory language).

    8.      At no point in Plaintiffs’ voluminous briefing to the Court (motion to dismiss,

            competing motions for summary judgment, responses, replies to same) have Plaintiffs

            argued that Ordinance No. 2019-40 (or Ordinance No. 2003-35 for that matter) is

            ambiguous, nor has the Court so found. It is simply not an issue before the Court. The

            only way the Court could even consider extrinsic evidence to discern legislative intent




Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 5 of 8
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 8 of 10




            is by first concluding that the acts being challenged – Ordinance No. 2019-40 and the

            accompanying Resolution R-2019-86 – are ambiguous.

    9.      Even if the Court so found, the type of extrinsic evidence that Plaintiffs are asking the

            Court to consider is not proper “legislative history” that any Texas or federal court has

            ever considered to resolve a legislative ambiguity. Therefore, because there is no

            ambiguity to resolve and because the aforementioned communications are not proper

            legislative history, they are irrelevant and immaterial as a matter of law and may not

            be admitted for any purpose. Fed. R. Evid. 402.

    10.     Alternatively, even if they are relevant for some limited purpose, such as establishing

            that the statements contained in the communications were made (it is difficult to see

            how that could be relevant to determining the validity of the challenged acts), they

            would still need to be excluded because they confuse the legal issues and will waste

            the Court’s time by admitting evidence that can have no effect on the fundamental issue

            – statutory construction, which is a question of law. Fed. R. Evid. 403.

    11.     Alternatively, if necessary, any statements contained in the aforementioned documents

            that purport to interpret or establish legislative intent of the challenged Ordinance(s)

            and Resolution(s) are inadmissible because Plaintiffs cannot lay a predicate or

            foundation for admissibility for those purposes. Defendants do not challenge the

            authenticity of the challenged exhibits themselves, nor do Defendants challenge the

            fact that such communications were made, who made them, when they were made or

            even the contents of what they say. Rather, though the proposed exhibits are authentic

            and may even constitute business records, the substance of the communications may




Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 6 of 8
          Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 9 of 10




            not be used for the purpose of engaging in statutory interpretation or discerning

            legislative intent. Fed. R. Evid. 803.

    12.     Finally, Defendants object to any statements in the proposed exhibits by non-parties

            that are offered to prove the truth of the matter asserted therein as inadmissible hearsay.

            Fed. R. Evid. 801.

Respectfully submitted,


 /s/ Jeff Hobbs                                             /s/ Bradford E. Bullock_________
 MICHAEL J. WHELLAN                                          GEORGE E. HYDE
 State Bar No. 21265550                                      State Bar No 45006157
 mwhellan@abaustin.com                                       ghyde@txlocalgovlaw.com
 JEFFREY J. HOBBS                                            BRADFORD E. BULLOCK
 State Bar No. 24012837                                      State Bar No. 00793423
 jhobbs@abaustin.com                                         bbullock@txlocalgovlaw.com
 ARMBRUST & BROWN, PLLC                                      RUSSELL RODRIGUEZ HYDE
 100 Congress Avenue, Suite 1300                             BULLOCK, LLP
 Austin, Texas 78701                                         1633 Williams Drive, Building 2, Suite 200
 (512) 435-2300 – telephone                                  Georgetown, Texas 78628
 (512) 435-2360 – facsimile                                  (512) 930-1317 – telephone
 ATTORNEYS FOR DEFENDANT                                     (866) 929-1641 – facsimile
 TF HUNTERS CROSSING, L.P.                                   ATTORNEYS FOR THE CITY OF
                                                             BASTROP, TEXAS, CONNIE
                                                             SCHROEDER, WILLIE LEWIS
                                                             “BILL” PETERSON, DRUSILLA
                                                             ROGERS, LYLE NELSON, BILL
                                                             ENNIS, DOCK JACKSON, RICK
                                                             WOMBLE, MICHELLE DODSON,
                                                             AND TABITHA PUCEK




Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 7 of 8
         Case 1:19-cv-01054-RP Document 106 Filed 04/28/21 Page 10 of 10




                                    CERTIFICATE OF SERVICE

     I hereby certify that on April 28, 2021 the above and foregoing instrument was electronically
filed with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record, and electronic mail.

                                                        Rick Milvenan
                                                        Ian Davis
                                                        McGinnis Lochridge LLP
                                                        600 Congress Avenue, Suite 2100
                                                        Austin, Texas 78701
                                                        rmilvenan@mcginnislaw.com
                                                        edavis@mcginnislaw.com
                                                        (512) 505-6331 - fax


                                                         /s/ Jeff Hobbs
                                                  Jeff Hobbs




Defendants’ Objections to Plaintiffs’ Proposed Trial Exhibits– Page 8 of 8
